Case 2:19-cv-18137-MCA-LDW Document 102-2 Filed 07/15/20 Page 1 of 4 PageID: 3731



                         Wilmington Sav. Fund Soc., FSB v. Levine, et al.
                            Civil Action No. 19-cv-18137-MCA-LDW

                               Legal Addendum to Monthly Reports

                 Colliers International NJ LLC (“Colliers” or the “Receiver”) was appointed to
  serve as the receiver for the 18 properties at issue in this action (together, the “Properties”)
  identified below, pursuant to that Order entered by this Court on September 30, 2019 (ECF # 8)
  (the “Receiver Order”), as amended by that Order entered December 4, 2019 (ECF # 76) (the
  “Receiver Order”).:

                 1.      232 Midland Avenue, Garfield, NJ 07026;
                 2.      1086A, 1088 and 1090 Avenue C, Bayonne, NJ 07002;
                 3.      337-343 Franklin Avenue, Nutley, NJ 07110;
                 4.      84 – 86 Chestnut Street, West Orange, NJ 07052;
                 5.      1055 Avenue C, Bayonne, NJ 07002;
                 6.      126 Center Street, Clifton, NJ 07011;
                 7.      48 West 54th Street, Bayonne, NJ 07002;
                 8.      90 West 20th Street, Bayonne, NJ 07002;
                 9.      418 Avenue C, Bayonne, NJ 07002;
                 10.     476 Bloy Street & Leo Street, Hillside, NJ 07205;
                 11.     61 Midland Avenue, Garfield, NJ 07026;
                 12.     217-219 Hillside Avenue, Hillside, NJ 07205;
                 13.     249 Main Avenue, Passaic, NJ 07055;
                 14.     143 Catherine Street, Elizabeth, NJ 07201;
                 15.     1041 Louisa Street, Elizabeth, NJ 07201;
                 16.     531 Beardsley Avenue, Bloomfield, NJ 07003;
                 17.     1586-90 Maple Avenue, Hillside, NJ 07205; and
                 18.     499 Amboy Avenue, Perth Amboy, NJ 08861.

                Sills Cummis & Gross P.C. (“Sills Cummis”) was subsequently approved to serve
  as counsel for the Receiver, to assist with the performance of those duties described in the
  Receiver Order, by further Order of this Court entered on October 10, 2019 (ECF # 11).

                Upon their appointments, the Receiver and subsequently Sills Cummis were
  immediately confronted with a multitude of emergent issues that required immediate actions to
  protect and preserve the Properties, and to achieve a habitable environment for the residential
  and other tenants that continue to occupy them notwithstanding the borrower defendants’
  wholesale – and admitted – abandonment of their management responsibilities. This included
  addressing unpaid utility bills, insect and rodent infestations, notices to vacate Properties issued
  by New Jersey Department of Community Affairs (“DCA”), hundreds of health, safety, and fire
  code violations and fines, and a deluge of tenant complaints. The Receiver and Sills Cummis
  were immediately (and continue to be) inundated with calls, e-mails, and various other
  correspondence from tenants, their legal representatives, state and local officials, and the
  borrower defendants’ unsatisfied creditors, all looking for the Receiver to immediately address
  innumerable issues arising from the borrower defendants’ actions (and inaction). By way of
  example only, since its appointment as the Receiver’s counsel in this matter, Sills Cummis has


                                                   1
Case 2:19-cv-18137-MCA-LDW Document 102-2 Filed 07/15/20 Page 2 of 4 PageID: 3732



  provided the following legal assistance and services to the Receiver with respect to the
  Properties:

               (1)    Engage and interface with an electronic data vendor to image, convert, and
                      extract electronic data maintained by the Levine Defendants to obtain
                      information necessary for the Receiver to effectively manage these
                      Properties;

               (2)    Undertake to compel the borrower defendants’ compliance with the
                      Receiver Order, including the transfer of funds, security deposits and
                      financial information necessary to administer, manage and market the
                      Properties;

               (3)    Prepare notices to tenants of the Properties concerning Colliers’
                      appointment as Receiver and related transition in management;

               (4)    Communicate with Plaintiff, Plaintiff’s counsel, and Plaintiff’s loan
                      servicer concerning the status of the Properties and the receivership;

               (5)    Communicate with the New Jersey Department of Community Affairs to
                      address reported code violations at the Properties;

               (6)    Prepare applications for approval of the Receiver’s counsel and the
                      Receiver’s compensation;

               (7)    Assist the Receiver in preparing and filing monthly status reports and
                      inventories for the Properties;

               (8)    Assist the Receiver with its reporting obligations under the Receiver Order
                      for each of the Properties;

               (9)    Prepare an Amended Receiver Order and related application for entry,
                      including extensive communications with interested parties to address
                      proposed modifications and additions;

               (10)   Investigate and communicate with taxing officials concerning a potential
                      tax sale certificate for 337-343 Franklin Avenue, Nutley, NJ;

               (11)   Interface with municipal agencies to address building and health code
                      violations reported at 232 Midland Avenue, Garfield, NJ;

               (12)   Correspond with the counsel for the parties and non-parties concerning
                      efforts to market and sell certain Properties and the form of the sale
                      procedures order;

               (13)   Assist the Receiver with registering the Properties with the New Jersey
                      Department of Community Affairs, in accordance with the New Jersey
                      Hotel and Multiple Dwelling Law, N.J.S.A. § 55:13A-1, et seq.;


                                               2
Case 2:19-cv-18137-MCA-LDW Document 102-2 Filed 07/15/20 Page 3 of 4 PageID: 3733



              (14)   Address and resolve leasehold disputes, and prepare notice of default
                     letters to certain tenants of 337-341 Franklin Avenue, Nutley, New Jersey
                     due to nonpayment of rents, and prepare to institute eviction actions
                     against any tenants that fail to cure their defaults;

              (15)   Address and resolve leasehold disputes, and prepare notice of default
                     letters to certain tenants of 531 Beardsley Avenue, Bloomfield, New
                     Jersey due to nonpayment of rents, and prepare to institute eviction actions
                     against any tenants that fail to cure their defaults;

              (16)   Address and resolve leasehold disputes, and prepare notice of default
                     letters to certain tenants of 476 Bloy Street, Hillside, Nutley, New Jersey
                     due to nonpayment of rents, and prepare to institute eviction actions
                     against any tenants that fail to cure their defaults;

              (17)   Address and resolve leasehold disputes, and prepare notice of default
                     letters to certain tenants of 217-219 Hillside Avenue, Hillside New Jersey
                     due to nonpayment of rents, and prepare to institute eviction actions
                     against any tenants that fail to cure their defaults;

              (18)   Address and resolve leasehold disputes, and prepare notice of default
                     letters to certain tenants of 1586-1590 Maple Avenue, Hillside, New
                     Jersey due to nonpayment of rents, and prepare to institute eviction actions
                     against any tenants that fail to cure their defaults;

              (19)   Address and resolve leasehold disputes, and prepare notice of default
                     letters to certain tenants of 84-86 Chestnut Street, West Orange, New
                     Jersey due to nonpayment of rents, and prepare to institute eviction actions
                     against any tenants that fail to cure their defaults;

              (20)   Address and resolve leasehold disputes, and prepare notice of default
                     letters to certain tenants of 143 Catherine Street, Elizabeth, New Jersey
                     due to nonpayment of rents, and prepare to institute eviction actions
                     against any tenants that fail to cure their defaults;

              (21)   Assist the Receiver in commissioning emergent contracting services to
                     stabilize and repair a bowing roof, and implement certain curative and
                     protective measures, at 90 West 20th Street, Bayonne, New Jersey;

              (22)   Appear at Garfield Municipal Court concerning fire and building code
                     violations for 232 Midland Avenue, and 61 Midland Avenue;

              (23)   Appear at municipal court for hearings and trials on building, health code,
                     fire code, and other health and safety violations at the properties;

              (24)   Communicate with Plaintiffs’ representatives concerning receivership
                     issues;



                                              3
Case 2:19-cv-18137-MCA-LDW Document 102-2 Filed 07/15/20 Page 4 of 4 PageID: 3734



                 (25)   Address tenant inquiries and advise Receiver concerning security deposit
                        issues; and

                 (26)   Address COVID-19 related legal and receivership issues.

                  The foregoing constitutes a representative summary of the legal services and
  assistance that Sills Cummis has provided the Receiver since its appointment, and continues to
  provide each day. The foregoing is not intended to be comprehensive or complete. Sills Cummis
  anticipates that it will be necessary to continue to provide these and other similar services going
  forward to address issues such as these, as well as any new issues that may arise.




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